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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE

 8   UNITED STATES OF AMERICA,                            NO. CR 08-244 RSL
 9
                                    Plaintiff,
10
            v.
11                                                        DETENTION ORDER
     SEAN WILLIAM DOAK,
12
                                    Defendant.
13

14
     Offenses charged:
15
            Conspiracy to Possess With Intent to Distribute Controlled Substances, in violation of
16          21 U.S.C. §§ 841(a)(1), 841(b)(1)(A).
17
     Date of Detention Hearing: November 24, 2015
18
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
20
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
21
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
22
                    defendant is a flight risk and a danger to the community based on the nature of
23
                    the pending charges. Application of the presumption is appropriate in this case.
24
            2.      Defendant is a Canadian citizen and has no substantial ties to the United States
25
                    or to this jurisdiction.
26

     DETENTION ORDER
     18 U.S.C. § 3142(i)
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 1         3.    Defendant has fought extradition to the United States for years, and only

 2               surrendered after his last appeal was turned down.

 3         4.    If defendant is released to Canada, and fails to return, the entire extradition

 4               process would have to begin again.

 5         5.    If convicted, defendant will be facing a lengthy period of time in prison. There

 6               is no incentive for him to return to the United States if he is released.

 7         6.    Defendant’s proposed residence in Canada is too far from the border to permit

 8               effective supervision.

 9         7.    There are no conditions or combination of conditions other than detention that

10               will reasonably assure the appearance of defendant as required or ensure the

11               safety of the community.

12         IT IS THEREFORE ORDERED:
13         (1)   Defendant shall be detained and shall be committed to the custody of the
14               Attorney General for confinement in a correction facility separate, to the extent
15               practicable, from persons awaiting or serving sentences or being held in custody
16               pending appeal;
17         (2)   Defendant shall be afforded reasonable opportunity for private consultation with
18               counsel;
19         (3)   On order of a court of the United States or on request of an attorney for the
20               government, the person in charge of the corrections facility in which defendant
21               is confined shall deliver the defendant to a United States Marshal for the
22               purpose of an appearance in connection with a court proceeding; and
23         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
24               counsel for the defendant, to the United States Marshal, and to the United States
25               Pretrial Services Officer.
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     DETENTION ORDER
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 1         DATED this 24st day of November, 2015.

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                                            A
                                            JAMES P. DONOHUE
                                            United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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